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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

SHARON SHOWALTER *
* NOTICE OF REMOVAL FROM
Plaintiff, * THE CIRCUIT COURT FOR
* CHARLES COUNTY, MD
VS. * CASE NO. C-08-CV-20-000377
*
WAL-MART STORES EAST, LP * CIVIL ACTION NO.
*
Defendant. *
PETITION FOR REMOVAL

 

Pursuant to 28 U.S.C., Section 1441(a), the Defendant, Wal-Mart Stores East, LP, notices
the removal of the above-captioned matter to this Honorable Court from the Circuit Court for
Charles’ County, Maryland, and as grounds therefor states as follows:

1. On or about June 1, 2020, Defendant, Wal-Mart Stores East, LP, was served with a
Summons and Complaint in an action commenced by the Plaintiff, Sharon Showalter, in the Circuit
Court for Charles County, Maryland as Docket No. C-08-CV-20-000377. True and correct copies
of the Summons and Complaint are attached hereto as “Exhibit A.” Defendant filed an Answer,
which is attached hereto as “Exhibit B.”

2. Defendant, Andre Grigsby, was served on or about June 8, 2020. Andre Grigsby
consents to the relief requested herein. No further proceedings have taken place in this action.

3, This Notice of Removal is filed within thirty (30) days of receipt of service by
Defendants and, therefore, is timely filed pursuant to 28 U.S.C., Section 1446(b).

4, Pursuant to the Federal Rules of Civil Procedure, the Petitioners filed a Notice of

Removal in the Circuit Court for Charles County on June 29, 2020. Copies of Defendants’ Notice

of Removal is attached hereto and incorporated herein by reference as “Exhibit C.”
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5. Inher Complaint, Plaintiff Sharon Showalter seeks judgment against Defendants in an
amount in excess of Seventy-Five Thousand Dollars ($75,000) in compensatory damages, plus
interest and costs.

6. Pursuant to 28 U.S.C. §§ 1441 and 1332, complete diversity of citizenship is
established as follows:

a. At the time of commencement of this action, Plaintiff was a resident of the
state of Maryland.

b. At the time of commencement of this action, and at all other times relevant
to the subject proceeding, Defendant, Wal-Mart Stores East, LP’s principal
place of business is Bentonville, Arkansas, and is incorporated in the State
of Delaware.

c. The Defendant Andre Grigsby is a Maryland resident. However, Andre
Grigsby has been fraudulently joined in this matter as there is no possibility
of establishing, under Maryland law, the causes of action pled against him.
There is no possibility of establishing that Mr. Grigsby breached any personal
duty to the Plaintiff. Mr. Grigsby was named as a Defendant solely to defeat

DeCARO, DORAN, . rr . Lo. .
Tats, GALLAGHER, diversity jurisdiction. A Motion to Dismiss for Fraudulent Joinder on behalf

& DeBLASIS, LLP

 

of Defendant Grigsby is being filed contemporaneously with this Petition.
17251 MELFORD BLVD.
SUITE 200 . . oo
BOWIE, MARYLAND 20715 Defendant fully incorporates Defendant’s Motion to Dismiss and
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Memorandum in support thereof as though fully stated herein.

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7. As this is a civil action wherein the amount in controversy exceeds $75,000, exclusive
of interest and costs, this Honorable Court has diversity of jurisdiction over this matter pursuant to
28 U.S.C., Section 1332.

8. By reason of the foregoing, removal is proper pursuant to 28 U.S.C. § 1441.

9. The Petitioner presents and files herewith a check in the amount of $400 for the filing
fee, as required by law.

WHEREFORE, the Defendant, Wal-Mart Stores East, LP, respectfully request to remove this
action from the Circuit Court for Charles County, Maryland to the United States District Court for
the District of Maryland.

Respectfully submitted,

DeCARO, DORAN, SICILIANO,

GALLAGHER & DeBL
By:

Matthew J. Gannett #07181

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Bowie, Maryland 20715

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Email: mgannett@decarodoran.com
Counsel for Defendants,

Wal-Mart Stores East, LP,

and Andre Grigsby
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 29" day of June, 2020, a copy of the foregoing Petition
for Removal was served via first class mail, postage prepaid, to:

Jeffrey M. Groce, Esquire
Robbert R. Castro, Esquire
CASTRO LAW GROUP

2670 Crain Highway, Suite 411
Waldorf, Maryland 20601
Counsel for Plaintiff

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Matthew J. Gannett #07181

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